Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 1of19

(Rey. 01/21) Complaint for Violation of Civil Rights (Prisoner)

UNITED STATES DISTRICT COURT

for the

Western District of New York 2 2, CV \\ yo

° ar
Doamel J. montull
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
Yu

Rath Horhul Gov.

Dan. Wactuscello Ir Ack, Commissio eC
Super iorendeny of Or Os

he Dee Dep, oF Secucihy oF O Cuan Ce

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

beg

wo a

Case No.

9-43-Cv- 1919

(to be filled in by the Clerk’s Office)

JURY TRIAL: Yes al No

FEB 29 2024

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We es Ke tocwenguib- ae SS
TERN DISTRICLS

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

(Prisoner Complaint)

NOTICE

other materials to the Clerk’s Office with this complaint.

forma pauperis.

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in

Page | of 11

Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 2 of 19

(Rev..01/21) Complaint for Violation of Civil Rights (Prisoner)

I, The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name Daniel J. Montoi\i
All other names by which
you have been known:
ID Number iWAQ\55O
Current Institution ORi\eans CoReeChional Facility
Address 353\ Gaines Bastin Road

AV igo NX. WH4h- AA

City State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (if mown) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name Hechul
Job or Title (if known) Governor of A/y.s
Shield Number _
Employer . -
Address
City State Zip Code

Individual capacity [Vl otticial capacity

Defendant No. 2

Name Dawiel_f. M aftuSce\lo iil
Job or Title (iftnown) Acting Camoii. sSionel
Shield Number ~
Employer
Address
City State Zip Code

[ ] Individual capacity IV Official capacity

Page 2 of 11
Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 3 of 19

(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

Defendant No. 3

Name mis. Cook
Job or Title (if known) Supefintendent of Ofleans CF
Shield Number
Employer Ofleans Cof(lectional Facility (De ccs)
Address 353) Gaines Basin Koad
Albion N.Y lY4 11-4199
City State Zip Code

[| Individual capacity ! Official capacity

Defendant No. 4

Name _ . Yeh “A Doe
Job or Title (if known) Deh, of Secucity
Shield Number :
Employer orleans Correctional facility (Deces)
Address 363l Gaines  Basm Road
Albion MY H4il-1194
City State Zip Code

C1 Individual capacity Official capacity
IL. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
[| Federal officials (a Bivens claim)

[VI State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

Amendments 4°83" 14"

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

Page 3 of 11
Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 4 of 19

(Rey. 01/21) Complaint for Violation of Civil Rights (Prisoner)

Il.

W/4

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 US.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

Negligence ack de\ilngroye cack Wecence ty fre iby Naintenance
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Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner

Other (explain)

HOSOUOU

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.
B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

(oc ©) walk Ways May 13, AOD At iZ00pw - bem

Page 4 of 11
Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 5of19

(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

C. What date and approximate time did the events giving rise to your claim(s) occur?
+h : se ‘ s ‘ ~~ ’
May 13 2O9gX® ARovnd ico P.M. - apm,
D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?)

SANER Yendson, took a oiece of Bone with i+.
Feadon Cot me on the inside, Avulsion Fractyee and
a Sevege SokaiA from Rowing My ANKE Tn a ditch

on We ovter walk Way. Chevstrooher T. SPRAGUE Saw
OW Wars caccveBe.

Vv. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

Severd tendon, Took a piece of Gone with if. Tendon Cut me on the inside,

Avu\sion Factuee and a Seveee spain Peom Rotting my ank\e.

TL will waite on dittepent puper of statement of Cloim($) (i of £ Pas)

VI. ‘Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

T Daniel J. Montylli am seeking ff \Wito MC hud
Filing and lawyer Fee's foe onysical long teem,
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Oe CSPres anh poston. Peas.

Page 5 of 11

Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 6of19

(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

VI. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A.

Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

M Yes
[] No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

OReanS Coanectionol Faci\iry

Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

M Yes
[] No

[| Do not know

Does the grievance procedure at the jail, prison, or other correctional ‘facility where your claim(s) arose
cover some or all of your claims?

Vj Yes
[ | No
| Do not know

If yes, which claim(s)?

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to faciViky Mamrenance and Safely PRotoce\s.T Sutteped

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Page 6 of 11

Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 7 of 19

(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

| Yes
[| No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

[ ] Yes
M No

FE. If you did file a grievance:

1. Where did you file the grievance?

OR\eans CoveectionoA facility

2. What did you claim in your grievance?

Rgny toot went into a dite on ovtea edge of walKulay, MEE Causing My
ankle bo Rell Causing a IMyUeYy T Repeated tne iNnjuey ro a C-O at Yue Scheel biding
wear For EMeRIENCY Sick call seen oy staff nuese No docteR was Availaole

lack of medical cage , (arn and Suffeet NG,

3. What was the result, if any?

Ti 16 noted phat Fiae and Safety was also nol ed of the
Tacident.

4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

{ied awievance APPecled +o SsudEedintendent APE CIed

+o Alioany (Cenrteacl of€ice Review Committee PROPER care
WOS Delayed Cavsing IeRminare damage cand Pat of Wyuey
WK Ways was Not Folly Repaired,

Page 7 of 11

Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 8 of 19

(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

F. If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

N/A

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

NIA

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VIII. Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule’?

[| Yes
M| No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

Page 8 of 11
Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 9of19

(Rey. 01/21) Complaint for Violation of Civil Rights (Prisoner)

A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?
[] Yes
N/| No

B. If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (/f there is

more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and State)

3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

[ ] Yes
[| No

If no, give the approximate date of disposition.

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

Page 9 of 11

Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 10 of 19

(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: O2- X\ ROQRUY

{ po
Signature of Plaintiff “D> “a/ UF

Printed Name of Plaintiff Daniel V WMondull|
Prison Identification # (1-B-] £52
Prison Address 353\ games Basin Ccad
City State Zip Code
B. For Attorneys
Date of signing:
Signature of Attorney
Printed Name of Attorney
Bar Number
Name of Law Firm
Address
City State Zip Code
Telephone Number

E-mail Address

Page 10 of 11

Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 11 of *pbage \ ofS
Stasement oF Claims)

CZ wag given ankle suppoak on May 13™, Ao2%aQ
JON moy 13™, 2O22 at APL ROAWMoatre\y 1a:009m-]F00 pM_Wihile

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_hmaybe a C.0. was benind me T +vaned agound lot it

Wwos another T/L talking lovd in another doem. TF was

walking passed So as T weRned aRounda to Continve to Me
[£6 .C meeting when my RQ Poot Le\\ into a ditch on the

edge of the walkway and my Fook govied on the Side

[Causing me +o stumpie when EF fell a Srop/fop in my foot]

ankle area followed by Severe pain. So T Continued te fhe

School byilding with hele vPon entre @ing tne school Ovilding

Then toid the oriecns Correctional Facility Co.c-F)

__ |Steke C.0. at the Front desk what happened while
_lwarking and toid tne Cc, that F needed To go to emergency

Sick Call _dve to the fact T was in Severe ean and needed

_ Medical assistance .T was toid to go to my meeting and _

Wye _C.0. Said ne would ca tne hospital. AfreR ne

meeting dhe C.0. Sad if was oKay +0 Qs fo medical, T asked

_\TF X cou\d get assistance to medical and MWe C.O. Said No

Prat I covld walk. was forced to walk] shuffle to

Emergency Sick- Cail (E.S:C) upon Reaching Me CHospital) I
was made +o wait FoR about 30 minutes to see a(o.c ©)

Staff nurse, when Finowy Was Seen J toid the nurse

What happened and what T fert and alt the paln the nvese_

tuld me to take off my boot/ Sock to look at my injury ;

_|he nyvese examined my foot/ankie and Said i+ was just
ja spRain and T was Given Medication foe the pain, Not

Known +o my Knowledge T wos given TF buptofen and it _

Case 1:23-cv-01162-JLS Document 6

: Filed 02/29/24 Page 120f19 que Qo &
Statement of 4 Pag v

Claimls

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_lerescaibed( S\ ma) of Walby aspigin fox Yne Rest of my

te and Touproten and boloy aspirin Cancel each other

_lout. An ice pack was given to me and was told dno 1
IMyY injue} worsens to Come back +0 Sick-ca\\ because

No doctor was available to examine my | Aju ey. F was

Wen appRoached iby an (o.c £) state Saageanr and he

Sargeant asked wnat Happened and Where did the injuey

Accu, the Sargeant ten PRoceeded +o fake Pictuges of -
my Sootlankie and asked if I wanted protective Custody

I Replied no and signed he paperwork Saying no. T

Requested FoR a Cane and og Ceurches to aid me with

[Walking agound Co.c.€) and also Stected how pain LE was

In and the Nuss? said No because Mere? Was-nodoctR  _

—availalbie. T then Said tome nuese TF +hink © vbeoke

Something in my foot/anteie but my pleas went uaheaed_

cand was dismissed and I was told to Regoe+ back to

My doem Per direct order CiOG, \o) by staf. T went baci
+o my dorm ( G-1) in Severe PaTn and missed dinner dve to

iMabilityto Walk cay Further , dye to being in So much pain Z

Couldat Sleep pRopegly ANd would ConStantiy Nave Shooting _

___|parni's Running vp my ley because of My injuey.On May _

1Y™ 2029 my footlankle Was Swotlen So tasked whe
doam's C.0. to Coll medical for emergency teeatment

jo€cause T was @ xpegiencing @ xcRuciating Pain and the

"Wu ese Replied to the C. ols Call that Mme doctor was
Not available. T missed bReakfast, lunch and dinner

due ro the Pain Twas enduring because of my fajuey.

ON May 15, 202a Twas awoken boy the pain T was

Case 1:23-cv-01162-JLS Document6 Filed 02/29/24, Page130f19 POge 3 of §

Statemeny of Claim(s)

expe arencing I ten looked ot my foot and Realized theee_

Was Deuise’sS ANA MORE SWeAiag T_askeada the doem
officer +t make a Plnone Cai\ So Wat my food can be der, vered!

Fo me Twas told no, T alsa ask the officee ‘yo Call _

Medical dve +o _ inceeased pain, Swellingand bavsing

Medical Answeeed and Sard No docteR was availabie and |

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Morning. TF put in tne Sick Calt nocd omg +o be Seen _

a stad sinseeh. a

by “having fo Walk on my sued foot! aakie Zana heen

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Ho My footlank\e, I then showed the nurse, ™ foot Jankie.

Of the Seveee _ ORvising and SweWing and notifying —
the nurse of the. excayciating Pain J was exoerrencing.

“The nuese Commented on how load i+ looked and Sata _

the doctor was not available put To can SHANI ger AN

|X-Ray done Met day. After the r-Ray was dene Fo
aSKed tne Wuese jf T Can Receive awa king Cane and _

OR CQUAMeS, but due +o the fact of the doctor being

Unavailable Tuas Genied we Cane and c@utches. TL Men _

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—PROGRaMS Also I Requested for a Feed - ue teay to be _

delivezed bo my doemle-1) but was denied the feed-_

ue tRay and granted a two day medical excuse, also T

Received a Mediaa\ 9ass +s RetuRen lack to me

intiemary foe Sliz/a0aa at approximately 9230 am +o,

_|be Seen by Da. Feies. After Twas Seen oy the nuese.

. + begged one last time fo2 a Cane o@ CRutehes but _

Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 Page 14 of PAGE Y ty
arement of Claims) —

_|my PieRS went oNReConmized and was toid tney Can ao
Morning Fuetner FoR Me and +o Retuen wack +o My

_ dorm (G-1) Yer diaect oadee vyO.C.F) Medical staff.
_|F wos foeced +o wolk| lime | shuffle back +o G-l the _

faatnest doam on this Compound from Medical endearing

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Got Dack +o ne dorm T asked Ye doem officer EF FT _

Can Speak to a Sargeant and tne C.0. Sad yes, when _

the Saggeant arrived +o Yne dogm, T then showed Me _
| Sargeant my inyyey and explained Now bad He pain was
thet T was Feeling, Tne Sargeant asked me why T
twas not able to get a Cane oR CRutches_and F explained _
_Hhat sne aurse Said due +o me Fact the coctok was |

Unavailable yetagain. The Sargeant Said Mey Couldnt

Cle_anyHaing to assist and to iW out another Sick call
form. T went +o bed Hh a massive amount o fF pain
and woke up the next mokning tn outstanding paln due

a +o be Ting, foaced -ro Conti ne to walk on my foot] nis\e _

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iMaloractice. On May \1 2028 pRior +o going +o Sick —
\ca\\ T asked the doem C.O. TF T can get assistance
|feom anoineg T/T but was denied and was forced to
__lwalts/lime/Shuffie to Sick call. T was Seen by a nurse
_|but He doctor was unavailable yet again, — then
(Showed the Auese my Mnjory on Now i+ worsened by

DRVising and MncReased Swetling and the pain became.
Agonizingly unbearable Then Requested walking

Jassistance by welling cane oR CRutches and was

denied again due +o tne dodoe betng ynavailable again.

Case 1:23-cv-01162-JLS Document6 Filed 02/29/24 ge 15 Mahe 5 of Fg
Syatemenr of Claam(sy Poe 55

_ Twas Given a direct opdeRClol.1©) Fo Repoey back Yo |
jy. dorm (G-land +o Fill out anole Sick can +o De
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Can ger Nee ro mMedice T was ro\d Wo and was forced _

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Examination ard of MEe exPiai ANG Now the iyu ey occured

land Wow J was Feeling On tae amount of pain E was
decNing wi th DeFeies Recommended Hot Ego toan _
outside nospitcl (E.C,.M.0) Hospital, E was mode to ful lly

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_lpRoceduRe tek Twos pegiected toy (o.c.F) Staff

Sid i+ Cause my injoey +o worsen, His professional

OPIMaN AS Adoctok Was my Mnyuey Severely worsened —

Case HES NR ONO Y ICY cor eau (5° of ‘Page (0 of S

_Feom foacefo\ WANK NG due yo Medical malpractice oy

JOR\ans Correctional facility medical Shee. We doctok —

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nesct rtnon Re WQS Suis lola fa seat wrote a

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OR\EaN$ Caetectronal facility Staff for an orthapedic—

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_ foeced +o CRawl ack into Phe. TRAASpott Van fully
— Sacked and +o crawl back out aftee Akgiving back

He Orreans Co Vgeechoanca\- Laci Ayty< Twas cl. eases. oy —
—__|Co-e.€) medical statf +o Keep tne Cevtnes she doctog

Gave me abr E.C\M.C Hospital and Mme Fhonspotdechon

Cs O. Gove ali Medical Goeyume nts. including tne CAM.

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ithe nurse told me Haak T+ would take one to theo
Boys Toe tne pResceiptica tu We pRocessecl and delivered

Twas hen given another medical excuse feom

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Sick call on May 95" Joga and was Seen on

Mag 26° 20322 and was Seen by a nugse explaine Ng

Mat the patn Mncteased and Reguested Mnfurmatron
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why P have not @eceved tp yet. the nugse then _
looked into my medrcal Records and said these. was
Mo pResetipton fog a medical CAM welt: oT.
‘ZF explatned mete vw GS a PREScaiptra n filed oot by

Case nee Ce oireny oC Clarmcs ye 17 “Page 4 of 5
the E.C.A.C medical doctog and handed to the

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Daniel Movil «

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Daniel J. Montol\li BIN *& WOASSHA
ORLEANS CORRECTIONAL FACILITY
3531 GAINES BASIN ROAD
ALBION, NEW YORK 14411-9199 i

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Clerk, US. Disteick Cone

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